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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)
ROSENBERG & ESTIS, P.C.
733 Third Avenue
New York, New York 10017
John D. Giampolo, Esq.
Telephone: (212) 551-1273
Email: jgiampolo@rosenbergestis.com
Attorneys for Paperless Inc., d/b/a Paperless Post
In re:                                                                      Chapter 11
                                                                            Case No. 22-19361 (MBK)
BLOCKFI INC., et al,                                                        (Jointly Administered)
                                                                            Hearing Date: January 16, 2024
Debtors                                                                     at 11:00 A.M. ET
                                                                            Response Deadline: January 9,
                                                                            2024
                                                                            Related Doc 2006

      PAPERLESS INC., D/B/A PAPERLESS POST’S LIMITED RESPONSE TO MOTION
       OF THE PLAN ADMINISTRATOR FOR AN ORDER CAPPING THE MAXIMUM
     ALLOWABLE AMOUNTS AND ESTABLISHING A RESERVE FOR ALL CLAIMS TO
                   ENABLE THE FIRST INTERIM DISTRIBUTION

            Paperless Inc., d/b/a Paperless Post, as sublandlord (“Sublandlord”) under that certain

     Sublease Agreement dated as of February 2, 2022, as amended, assigned, supplemented or

     otherwise modified (the “Sublease”) with BlockFi Inc., as subtenant (“Debtor”) relating to certain

     nonresidential sublease of space located at Suite 1100 on the eleventh (11th) floor within the

     building located at 115 Broadway, New York, New York 10006, which Sublease was rejected by

     Debtor, and as holder of Claim No. 33625 (the “Claim”) relating to the Sublease, by and through

     Sublandlord’s undersigned counsel, respectfully submits this limited response to the above-

     referenced Motion of the Plan Administrator for an Order Capping the Maximum Allowable

     Amounts and Establishing a Reserve for All Claims to Enable the First Interim Distribution (the

     “Motion”) and respectfully states as follows.
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        With respect to Sublandlord’s Claim, the Motion seeks only to cap the Claim as a secured

 claim in the amount of $192,782.48 (see Motion, Schedule A, page 283). In sum, after filing the

 Claim, Sublandlord lawfully received recovery from a source that is not property of the Debtors’

 bankruptcy estate and therefore Sublandlord’s Claim has been voluntarily amended to $0.00. See

 amendment to Claim annexed hereto as Exhibit A filed simultaneously herewith which is

 incorporated herein by reference. Based on Sublandlord’s retention of said recovery, Sublandlord

 does not assert a claim against or seek distribution from property of Debtors’ bankruptcy estate.

 The Motion is moot as to the Claim and should be excluded from any Order entered for the Motion.

        Sublandlord reserves the right to amend or supplement this objection.

 Dated: New York, New York
        January 9, 2024

                                                     ROSENBERG & ESTIS, P.C.

                                                     By: /s/ John D. Giampolo
                                                         John D. Giampolo

                                                         733 Third Avenue
                                                         New York, New York 10017
                                                         Tel: (212) 551-1273
                                                         Email: jgiampolo@rosenbergestis.com

                                                     Attorneys for Paperless Inc., d/b/a Paperless
                                                     Post




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                               EXHIBIT A
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           Fill in this information to identify the case (Select only one Debtor per claim form):
         BlockFi Inc.                           BlockFi Wallet LLC
  !      (Case No. 22-19361)            !       (Case No. 22-19366)                   ! BlockFi Investment Products LLC
                                                                                        (Case No. 22-19370)
        BlockFi Trading LLC                     BlockFi Ventures LLC
  !     (Case No. 22-19363)             !       (Case No. 22-19367)                   ! BlockFi Services Inc.
                                                                                        (Case No. 22-19371)
        BlockFi Lending LLC                     BlockFi International Ltd.
  !     (Case No. 22-19365)             !       (Case No. 22-19368)                   ! BlockFi Lending II LLC
                                                                                        (Case No. 22-19374)




 Modified Official Form 410
 Proof of Claim                                                                                                                                                04/22

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense (other than a claim entitled to priority under 11 U.S.C. § 503(b)(9)). Make such a
 request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.


 Part 1:    Identify the Claim

1. Who is the current           Paperless Inc.
   creditor?
                               Name of the current creditor (the person or entity to be paid for this claim)

                               Other names the creditor used with the debtor       Paperless Post

2. Has this claim been
   acquired from
                               ! No
   someone else?               ! Yes. From whom?

3. Where should notices        Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                     different)
   creditor be sent?
                                Meg Hirschfeld, CAO
                               _____________________________________________________                       _____________________________________________________
   Federal Rule of
   Bankruptcy Procedure        Name                                                                        Name
   (FRBP) 2002(g)               115 Broadway, Suite 1203
                               ______________________________________________________                      ______________________________________________________
                               Number          Street                                                      Number      Street

                                New York                   NY          10006
                               ______________________________________________________                      ______________________________________________________
                               City                       State             ZIP Code                       City                       State             ZIP Code


                               Country (If outside of the US)                                              Country (If outside of the US)


                               Contact phone
                                               212-242-1288                                                Contact phone

                               Contact email    meg@paperlesspost.com                                      Contact email


4. Does this claim amend       ! No
   one already filed?          ! Yes. Claim number on court claims registry (if known) 33625                                           Filed on 10/11/2023
                                                                                                                                               MM   / DD     / YYYY



5. Do you know if anyone       ! No
   else has filed a proof      ! Yes. Who made the earlier filing?
   of claim for this claim?




                                                                         Proof of Claim                                                               page 1
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   Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number        ! No
    you use to identify the      ! Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:
    debtor?



7. How much is the claim?          $                                     0 . Does this amount include interest or other charges?
                                                                             ! No
                                                                             ! Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
    claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.



                                   Sublease rejection damages paid from source outside estate property

9. Is all or part of the claim   ! No
     secured?                    ! Yes. The claim is secured by a lien on property.
                                           Nature of property:
                                           ! Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                             Attachment (Official Form 410-A) with this Proof of Claim.
                                           ! Motor vehicle
                                               Other. Describe:



                                           Basis for perfection:
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)

                                           Value of property:                            $


                                           Amount of the claim that is secured:          $


                                           Amount of the claim that is unsecured: $                               (The sum of the secured and unsecured
                                                                                                                  amounts should match the amount in line 7.)


                                           Amount necessary to cure any default as of the date of the petition:               $                     0


                                           Annual Interest Rate (when case was filed)              %
                                           ! Fixed
                                           ! Variable

10. Is this claim based on a     ! No
    lease?
                                 ! Yes. Amount necessary to cure any default as of the date of the petition.                  $                     0


11. Is this claim subject to a   ! No
    right of setoff?
                                 ! Yes. Identify the property:




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12. Is all or part of the claim    ! No
    entitled to priority under
    11 U.S.C. § 507(a)?            ! Yes. Check one:                                                                                                 Amount entitled to priority

   A claim may be partly                  ! Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                                $
   nonpriority. For example,
   in some categories, the                ! Up to $3,350* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                            $
   entitled to priority.
                                          ! Wages, salaries, or commissions (up to $15,150*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                     $
                                              11 U.S.C. § 507(a)(4).
                                          ! Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                   $

                                          ! Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                       $

                                          ! Other. Specify subsection of 11 U.S.C. § 507(a)(               ) that applies.                          $

                                          * Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases begun on or after the date of adjustment.

13. Is all or part of the         ! No
    claim entitled to
    administrative priority       ! Yes. Indicate the amount of your claim arising from the value of any goods received                             $ ____________________
    pursuant to                           by the Debtor within 20 days before the date of commencement of the above case, in
    11 U.S.C. § 503(b)(9)?                which the goods have been sold to the Debtor in the ordinary course of such
                                          Debtor’s business. Attach documentation supporting such claim.



 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                !       I am the creditor.
 FRBP 9011(b).                    !       I am the creditor’s attorney or authorized agent.
 If you file this claim           !       I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP             !       I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 5005(a)(2) authorizes courts
 to establish local rules         I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
 specifying what a signature      amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 is.                              I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
                                  and correct.
 A person who files a
 fraudulent claim could be        I declare under penalty of perjury that the foregoing is true and correct.
 fined up to $500,000,            Executed on date         01/09/2024
                                                           _________________
 imprisoned for up to 5                                    MM / DD     /   YYYY
 years, or both.
 18 U.S.C. §§ 152, 157, and
 3571.

                                     ________________________________________________________________________
                                       Signature

                                  Name of the person who is completing and signing this claim:

                                  Name                   John                                    David                               Giampolo
                                                          First name                           Middle name                            Last name

                                  Title                  Member

                                  Company                Rosenberg & Estis, PC attorney for creditor
                                                          Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                733 Third Avenue, 15th Floor
                                                          Number            Street

                                                         New York                                                      NY              10017
                                                          City                                                         State          ZIP Code

                                  Contact phone          212 551-1273                                                  Email jgiampolo@rosenbergestis.com




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                                     ADDENDUM
              In the United States Bankruptcy Court for the District of New Jersey
Amendment to Proof of Claim of Paperless Inc., d/b/a Paperless Post Against BlockFi Inc. (Case No. 22-
                                               19361)

  Background. Paperless Inc., d/b/a Paperless Post, as sublandlord (“Sublandlord”), and BlockFi Inc., as
  subtenant (“Debtor”), are bound by that certain Sublease Agreement dated as of February 2, 2022, as amended,
  assigned, supplemented or otherwise modified (the “Sublease”, a copy of which is available to counsel for the
  Debtor upon request as Debtor is already in possession of same). The Sublease relates to certain nonresidential
  sublease of space located at Suite 1100 on the eleventh (11th) floor within the building located at 115
  Broadway, New York, New York 10006 as more fully identified in the Sublease and any exhibits annexed
  thereto (the “Premises”).

  On November 28, 2022 (the “Petition Date”), the Debtor and affiliates debtors filed a voluntary petition for
  relief under Chapter 11 of the United States Bankruptcy Code (the "Bankruptcy Code"). Thereafter, Debtor
  filed its Notice of Debtors' Fifth Omnibus Rejection of Executory Contracts and Leases [Doc 1408] (the
  “Notice”)which resulted in the Court entering the Order Approving the Debtors’ Fifth Omnibus Rejection of
  Executory Contracts and Leases [Doc 1470] on September 11, 2023 (the “Rejection Order”), which, in
  accordance with the Order Authorizing and Approving Procedures for Rejection of Executory Contracts and
  Unexpired Leases [Doc 302] (the “Rejection Procedures Order”), authorized rejection of the Sublease and
  abandonment of personal property left in the Premises. Capitalized terms not otherwise defined herein have
  the same meanings ascribed in the Notice, the Rejection Order and the Rejection Procedures Order. Upon its
  entry, the Order, among other things, provided that, effective as of the August 30, 2023 Rejection Date, the
  Sublease is rejected thereby surrendering the Premises to Sublandlord with any personal property remaining
  in the Premises deemed abandoned by the Debtor.

  Pursuant to the Sublease and applicable law, Sublandlord had a right to recovery for (i) unpaid future rent
  obligations under the Sublease from September 1, 2023 through the end of the Sublease term on April 1, 2024
  which equaled no less than $498,498.48 (see attached Schedule); and (ii) no less than $10,000.00 of legal fees
  and expenses incurred and estimated to be incurred in connection with enforcing Sublandlord’s rights under
  the Sublease and applicable law. Out of an abundance of caution and under compulsion of the October 11,
  2023 bar date fixed in this case, Sublandlord filed a proof of claim (Claim No. 33625) to protect its right to
  seek recovery and distribution from property of Debtor’s bankruptcy estate and expressly reserved the right to
  amend its proof of claim. Subsequently, Sublandlord lawfully received recovery from property that was not
  property of Debtor’s bankruptcy estate. Therefore, to the extent Sublandlord retains said recovery, Sublandlord
  does not assert a claim against or seek recovery from property of Debtor’s bankruptcy estate and hereby files
  this amendment amending its proof of claim (Claim No. 33625) to $0.00.

  Reservation of Rights. Sublandlord expressly reserves the right to amend this filing. This filing is not and
  should not be construed to be: (a) a waiver or release of Sublandlord’s rights against any other entity or person
  liable for all or part of any claim described herein; (b) consent by Sublandlord to the jurisdiction of this Court
  with respect to any proceeding commenced in this case against or otherwise involving Sublandlord; (c) consent
  by Sublandlord to the treatment of any non-core claim against it as a core claim; (d) a waiver of the right to
  withdraw the reference with respect to the subject matter of this claim, any objection or other proceedings
  commenced with respect thereto, or any other proceedings commenced in this case against or otherwise
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involving Sublandlord; or (e) an election of a remedy that waives or otherwise affects any other remedy of
Sublandlord. Sublandlord expressly reserves the right to amend or supplement this filing in any respect.


Certain information provided herein has been redacted due to the proprietary nature of the contents contained
within documents. An unredacted copy, where needed for good cause shown, may be obtained by contacting
the attorneys for Sublandlord.


Additional information and supporting documentation for this filing, which is not attached because it is
voluminous or otherwise contains confidential, proprietary business information, may be obtained by
appropriate written request sent to:

                             John Giampolo, Esq.
                             Rosenberg & Estis, P.C.
                             733 Third Avenue
                             New York, New York 10017
                             Tel: 212-551-1273
                             Email: jgiampolo@rosenbergestis.com
                             Counsel for Paperless Inc., d/b/a Paperless Post
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                  Sublease Schedule

                                                 Additional Rent
                  Rent payments per               (Utilities) per
                     Agreement                     Agreement

     Mar-22 $                   10,645           $          5,662
 1   Apr-22 $                   50,417           $          5,662
 2   May-22 $                   50,417           $          5,662
 3   Jun-22 $                   50,417           $          5,662
 4     Jul-22 $                 50,417           $          5,662
 5   Aug-22 $                   50,417           $          5,662
 6   Sep-22 $                   50,417           $          5,662
 7   Oct-22 $                   50,417           $          5,662
 8   Nov-22 $                   50,417           $          5,662
 9   Dec-22 $                   50,417           $          5,662
10    Jan-23 $                  50,417           $          5,662
11   Feb-23 $                   50,417           $          5,662
12   Mar-23 $                   50,417           $          5,662
13   Apr-23 $                   56,650           $          5,662
14   May-23 $                   56,650           $          5,662
15   Jun-23 $                   56,650           $          5,662
16     Jul-23 $                 56,650           $          5,662



17   Aug-23 $                   56,650           $          5,662
18   Sep-23 $                   56,650           $          5,662
19   Oct-23 $                   56,650           $          5,662
20   Nov-23 $                   56,650           $          5,662
21   Dec-23 $                   56,650           $          5,662
22   Jan-24 $                   56,650           $          5,662
23   Feb-24 $                   56,650           $          5,662
24   Mar-24 $                   56,650           $          5,662
25   Apr-24 $                   56,650           $          5,662

             $                453,200            $        45,298                            $498,498.48
